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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

THERESA RUSSELL )

Plaintiff, )

)

v ) Case No. l:l8-cv-l63

)

JEFFERSON B. SESSIONS, Attorncy )

General, et al., )
Defendants.

MEMORANDUM OPINION

Plaintiff Theresa Russell, an employee of the United States Marshals Service (“USMS”)
for almost two decades, applied, but was not selected, for a Supervisory Management and
Program Analyst GS-15 position in the USMS’s Judicial Security Division (“JSD”). She alleges
her non-selection was the result of gender discrimination, in violation of Title VII of the Civil
Rights Act of 1964, 42 U.S.C. § 2000e, et. seq. Defendants, however, contend that the male
candidate selected over plaintiff for the position was chosen because his work experience and
interview responses confirmed him as the most qualified candidate.

At issue following discovery is whether defendants are entitled to summary judgment on
the basis of the undisputed factual record. The parties have fully briefed and argued the issue,
and it is now ripe for disposition. For the reasons set forth herein, defendants’ motion must be
granted.

I.

Summary judgment is appropriate only where there are no genuine disputes of material

fact, Fed. R. Civ. P. 56. Accordingly, the record facts as to which no genuine dispute exists must

first be identified To this end, Local Rule 56(B) directs a movant for summary judgment to

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include a section listing, in numbered-paragraph form, all material facts as to which the movant

contends no genuine dispute exists. The nonmovant must then respond to each numbered

paragraph, either admitting or contesting the putative undisputed fact and citing admissible

record evidence to establish a genuine dispute of material fact. The nonmovant’s failure to

respond to a fact listed by the movant constitutes an admission that the listed fact is undisputed.

Both parties have essentially complied with the Local Rule. Accordingly, the facts recited here

are derived from the parties’ lists of material facts and their respective responses.

Plaintiff is an employee of the United States Marshals Service (“USMS”), a federal law
enforcement agency. She began her employment with the USMS in the Judicial Security
Division (“JSD”) in August 2000.

The Business lntegration Center (“BIC”) is one of three centers that provides support for
the JSD.

John Bolen became the Assistant Director in charge of the JSD in June 2016. Deputy
Assistant Directors Tom Wight and Gary lnsley reported directly to Mr. Bolen.

The USMS’s Merit Promotion Plan establishes the agency’s methods for making
selection decisions According to the plan, if interviews are used, candidates should be
asked the same questions and interview results will be considered when making selection
decisions.

On May 13, 2016, the USMS posted a vacancy announcement for the position of
Supervisory Management and Program Analyst (hereinaher “BIC Chief”), a GS-l$
position that serves as head of the BIC. Qualifled applicants were required to have one
year of specialized experience equivalent to the GS-l4 level in areas such as operational
efficiency and efficacy, program management, strategic planning, and overall supervisory
management Major duties of the position include, but are not limited to, developing
division program measures, data analysis, policy directives, and strategic planning and
overseeing relevant research and studies.

At the time the BIC Chief vacancy announcement was posted, Terry Bearden was serving
as the Acting BIC Chief.

The Office of Personnel Management and the USMS’s Human Resources Division

placed both plaintiff and Mr. Bearden, as well as other applicants, on the promotion
certificate as qualified candidates for the BlC Chief position.

Beginning in March 2010, plaintiff worked in the JSD as the Assistant Chief (GS-l4) of
the Administrative Support Center (“ASC”), one of the centers that provides support for
the JSD. The position coordinates and facilitates the administrative needs of the JSD in
areas such as human resources, time and attendance, property management, and

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correspondence coordination. lt also does tracking, reporting, policy devising, creation of
business rules and practices, strategic planning, and website management

¢ Mr. Bearden began working at the GS-l4 level in 2010 with the Office of Procurement
Services for the Labor Department. Hejoined the JSD as Assistant Chief (GS-l4) of the
OHice of Security Contracts in late 2010, Beginning in January 2016, Mr. Bearden served
as the Acting Chief (GS-l$) of the BIC.

0 During his tenure as Acting Chief, Mr. Bearden prepared the JSD’s Quarterly
Perforrnance Review (QPR), a formal, quarterly briefing between the Assistant Director
of each USMS division and the agency’s top executives Each Assistant Director
discusses his or her division’s performance with respect to different performance metrics.
'l`he BIC Chief prepares the materials for the JSD’s QPR and the JSD’s Assistant Director
for the briefing He or she also provides the Assistant Director with support during the
briefing.

0 According to Mr. Bearden’s resume, while he served as BIC Chief, he also (i) developed
and directed division program measures, data analysis, policy directives, strategic
planning, metric development, and database creation; (ii) served as JSD’s point of contact
for strategic planning; (iii) oversaw research relevant to the JSD; (iv) conducted program
reviews and assessments for business process improvements; and (v) performed data
management limetions to advise on statistical trending.l

¢ On July ll, 2016, a three-member panel (consisting of Mr. lnsley and Mr. Wight, then
the two Deputy Assistant Directors, and Chad Nieboer, a former BlC Chief) interviewed
four candidates, including plaintiff and Mr. Bearden, for the BlC Chief position. Two of
the candidates were women and two were men. The purpose of the interviews was to
recommend, from among the candidates interviewed, the best qualified candidate for the
position.

0 During the interviews, the panelists asked the candidates the same core set of questions in
order to provide an objective basis for comparison.

0 'l`wo of the three panelists, Mr. Wight and Mr. lnsley, recommended Mr. Bearden to the
Selecting Official, Mr. Bolen. The third panelist, Mr. Nieboer, did not recommend any of
the four candidates2

0 Mr. lnsley explained that Mr. Bearden “was more qualified for the position” of BIC Chief
than plaintiff because of “the responses to the interview questions and the experience
which would be reflected in the response.” l-le thought Mr. Bearden’s interview responses

 

' Plaintiff correctly notes that Mr. lnsley did not testify about all of Mr. Bearden’s responsibilities as Acting BlC
Chief. However, this fails to create a genuine dispute of material fact because plaintiff does not dispute that Mr.

Bearden listed these responsibilities on his resume nor does plaintiff dispute that Mr. Bearden performed these
responsibilities

2 Although defendants contend the panel was unanimous, a careful parsing of the record indicates that Mr. Nieboer
stated in his EEO Affidavit that he “didn't recommend any of the candidates” because he “didn’t think any of them
were qualified.” Aff. Nieboer at 88-89. However, whether the panel was 3-0 in favor of Mr. Bearden or 2-l in favor
of Mr. Bearden with the lone dissenter prefen'ing to open the process to additional candidates does not affect the
integrity of defendants’ legitimate, nondiscriminatory justification for Mr. Bearden's selection. Nor does it show
defendants’ justification for the selection is pretextual

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were more detailed and demonstrated greater understanding of the questions asked. Mr.
lnsley also cited Mr. Bearden’s experience with the QPR and his MBA when asked why
he recommended Mr. Bearden.

o Mr. Wight stated that he recommended Mr. Bearden because he thought Mr. Bearden’s
interview responses were more detailed, articulate, focused and thoughtful and that they
demonstrated greater insight into the relevant skills for BlC Chief, Mr. Wight also stated
that he thought Mr. Bearden had performed effectively as Acting BIC Chief, including
his preparation for the QPR.

o Mr. Nieboer would have preferred to open the process to more candidates rather than
recommend one of the four interviewed. Although he did not say so in his EEO Affidavit,
he later stated that, despite this preference, he recommended Mr. Bearden out of the
candidates interviewed. He explained that this was “because [of] the leadership skill set
that [Mr. Bearden] possessed and demonstrated . . . [h]e could build those coalitions that
he could lead the different competing factions if you will of any office environment to get
thejob done.” Mr. Nieboer stated that he formed his opinion on the basis of Mr.
Bearden’s interview responses.

0 Mr. Bolen adopted the panel’s recommendation and selected Mr. Bearden to fill the BlC
Chief position. He emailed the JSD announcing his selection on July 20, 2016.

0 Plaintiff`s gender was not discussed in connection with the selection process for BlC
Chief.

ll.

The summaryjudgment standard is well settled and thus undeserving of elaboration. In
essence, summary judgment is appropriate under Rule 56, Fed. R. Civ. P., only where “the
movant shows that there is no genuine dispute as to any material fact and the movant is entitled
to judgment as a matter of law.” A genuine factual dispute exists “if the evidence is such that a
reasonablejury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 248 (1986).

Plaintiff has not proffered direct evidence of gender discrimination and so must proceed
under the burden-shining framework set forth in McDonnelI Douglas Corp. v. Green, 411 U.S.
792 (1973). Specifically, plaintiff must first “establish a prima facie [case of gender
discrimination] by showing that (l) she is a member of a protected group, (2) she applied for the

position in question, (3) she was qualified for that position, and (4) the defendants rejected her

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application under circumstances that give rise to an inference of unlawful discrimination.”
Anderson v. Weslinghouse Savannah River Co., 406 F.3d 248, 268 (4th Cir. 2005). Only a
preponderance of the evidence is required to establish a prima facie case. Evans v. Technologies
Applications & Services Co., 80 F.3d 954, 959-60 (4th Cir. 1996). In the event plaintiff
establishes a prima facie case, defendants may rebut by articulating a legitimate,
nondiscriminatory justification for their promotion decision. Anderson, 406 F.3d at 268. 'l`o
overcome the legitimate, nondiscriminatory justification, plaintiff must establish that the
profferedjustification is pretextual. Id.

Plaintiff “can prove pretext by showing that [s]he was better qualified, or by amassing
circumstantial evidence that otherwise undermines the credibility of the” USMS’s given
justification. Moore v. Mukasey, 305 Fed.Appx. 111, 116 (4th Cir. 2008) (quoting Heiko v.
Colombo Savings Bank, F.S.B., 434 F.3d 249, 259 (4th Cir. 2006)). The latter may be established
by showing the purported justification is false or “unworthy of credence.” Anderson, 406 F.3d at
269. lmportantly, plaintiff may not “seek to expose [USMS’s] rationale as pretextual by focusing
on minor discrepancies that do not cast doubt on the explanation’s validity, or by raising points
that are wholly irrelevant to it.” Hux v. Cin of Newport News, Va., 451 F.3d 31 1, 315 (4th Cir.
2006)

III.

“'I`he burden of establishing a prima facie case of disparate treatment is not onerous.”
Texas Dep ’t of Cmty. Ajairs v. Burdine, 450 U.S. 248, 253 (1981). Rather, it is a “relatively easy
test.” Evans, 80 F.3d at 960. lndeed, the Supreme Court found a prima facie case of age

discrimination where plaintiff, a member of a protected class, was fired from a position for

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which he was qualified and three younger people were subsequently hired to fill the position.
Reeves v. Sanderson Plumbing Produc!s, lnc., 530 U.S. 133, 142 (2000).

Here, plaintiff satisfies her burden of establishing a prima facie case because (i) as a
female, she is a member of a protected group; (ii) she applied for the BlC Chief position; (iii) she
was qualified for the BlC Chief position; and (iv) the USMS selected a man to fill the position.
Defendants do not dispute that plaintiff has established a prima facie case of gender
discrimination, thereby shifting the burden to defendants to establish a legitimate,
nondiscriminatory reason for their selection of Mr. Bearden.

Defendants have done so; they have provided a legitimate, nondiscriminatory
justification for Mr. Bearden’s selection by asserting that the panel concluded Mr. Bearden’s
interview responses and job experience confirmed him as best qualified for the BlC Chief
position. Plaintiff’s contention that defendants’ justification is insufficiently specific fails to
undermine this conclusion because the burden is only one of production,3 defendants have
amassed abundant specific record evidence, and the Fourth Circuit maintains that candidates’
qualifications and job performance “are widely recognized as valid, non-discriminatory bases for
any adverse employment decision.” Evans, 80 F.3d at 960.

The Supreme Court has further explained that, because the employer’s burden is merely
one of production, it “need only produce admissible evidence which would allow the trier of fact
rationally to conclude that the employment decision had not been motivated by discriminatory
animus.” Texas Dept. of Community Affairs v. Burdine, 450 U.S. 248, 257 (1981). Although
plaintiff is correct the “legitimate reasons must be clear and reasonably specific,”4 defendants

point to ample evidence that the panelists recommended Mr. Bearden over plaintiff on the

 

3 Holland v. Wash. Homes, lnc., 487 F.3d 208, 214 (4th Cir. 2007).
4 ld. at 258.

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specific basis of his interview answers and job experience. Mr. lnsley explained the panel
thought Mr. Bearden was more qualified than plaintiff because of the former’s “responses to the
interview questions and the experience which would be reflected in the response.” lnsley Dep. at
34:22-35:7. See also Def.’s Resp. to Pl.’s lnterrog. No. 3. Mr. lnsley also explained that,
comparing plaintiffs and Mr. Bearden’s experiences as USMS employees on the basis of their
interview responses and resumes, “the panel felt that [Mr. Bearden] was more qualified for the
position” of BIC Chief, Aff. lnsley at 63-64. Mr. Wight thought that Mr. Bearden
“demonstrated . . . through his performance and through the interview a more analytical
acumen.” Aff. Wight at 77. Mr. Wight also stated that he “found Mr. Bearden to have performed
effectively as Acting BlC Chief.” Def.’s Resp. to Pl.’s lnterrog. No. 3. Although Mr. Nieboer
initially said that he did not recommend any of the candidates interviewed, he later said that he
believed Mr. Bearden “was the best choice among the candidates interviewed for BlC Chief
because Mr. Bearden had broader experience relevant to the position.” Def.’s Resp. to Pl.’s
lnterrog. No. 3. And Mr. Nieboer further explained that he preferred Mr. Bearden out of the four
candidates interviewed because of “his responses during the interview.” Nieboer Dep. at 82:21-
83:22. lndeed, defendants did more than merely provide evidence showing the panelists
recommended Mr. Bearden because of his better interview answers and job experience.
Defendants also cited to record materials that detail ways in which Mr. Bearden’s interview
responses and job experience were superior to plaintiff s. Mr. lnsley elaborated that Mr.
Bearden’s interview responses were better than plaintiffs because they “provided a better
understanding of the questions asked.” Aff. lnsley at 65. Mr. Wight explained that, on the basis
of Mr. Bearden’s performance and interview responses, he “demonstrated . . . more analytical

acumen, seeing big pictures and how to demonstrate performance, capture performance,

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developing metrics, performance measures that would capture performance within the Judicial
Security Division and the Judicial Security mission for the Agency as a whole.” Aff. Wight at
77-78. In addition, Mr. Wight thought Mr. Bearden’s interview revealed that “[h]e had greater
understanding, far greater understanding of the subject matter compared to other candidates.”
Wight Dep. at 93:3-8. Mr. Nieboer, in his EEO affidavit, explained that Mr. Bearden had greater
experience than plaintiff because he had “compil[ed] . . . and put[] . . . together” information for
the QPR. Affd Nieboer at 90-91. Mr. Nieboer later stated that, although his preference would
have been to open the process to more candidates, he preferred Mr. Bearden over plaintiff and
the other candidates interviewed because Mr. Bearden’s interview responses revealed a
“leadership skill set that [he] possessed and demonstrated, talked about, the ability to get people
to respond that weren’t direct reports . . . [h]e could build those coalitions that he could lead the
different competing factions if you will of any office environment to get thejob done.” Nieboer
Dep. at 82:21-83:22. In sum, defendants have provided ample evidence establishing the panelists
selected Mr. Bearden because his work experience and interview responses continued him as
most qualified. Moreover, defendants have also provided ample evidence detailing ways in
which Mr. Bearden’s work experience and interview responses were superior to plaintiff s.
Contrary to plaintiffs suggestion, the Fifih Circuit cases she cites, Alvarado v. Texas
Rangers, 492 F.3d 605 (5th Cir. 2007) and Pa!rick v. Ridge, 394 F.3d 311 (5th Cir. 2004), do not
support the conclusion that defendants’ justification fails for lack of specificity. These cases are
easily distinguished The Fourth Circuit characterized Alvarado as a case in which the employer
“provided no explanation for how the interviewers arrived at the scores for each question,”
distinguishing Alvarado from the case then before that Court in which the employer explained

plaintiffs lower score resulted from her comparative lack of technical expertise notwithstanding

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her greater experience, thus defeating plaintiffs claim that the justification was insufficiently
specific. Harris v. Mayor & Cin Council of Baltimore, 429 F. App’x 195, 204 (4th Cir. 2011).
And the Fifih Circuit’s decision in Palrick is equally inapposite here. There, the Fif`th Circuit
clarified that, although an employer that merely found a plaintiff was “not ‘sufficiently suited”’
for a position failed to provide adequate detail, explaining the employee “was not ‘sufficiently
suited’ to fill the . . . position because of her experience, credentials, attitude, or some other
articulable characteristic . . . might have provided enough detail.” 394 F.3d at 317. The USMS’s
justification is analogous to the latter, as defendants have explained Mr. Bearden was most
qualified because of his interview responses and work experiences and even elaborated ways in
which he stood out in these areas. See, e.g., Aff. lnsley at 65; Aff. Wight at 77-78; Wight Dep. at
93:3~8; Affd Nieboer at 90-91; Nieboer Dep. at 82:21-83:22.

Plaintiffs argument that defendants’ subjective assessments are not, as required,
grounded in a clear and specific basis also fails. Plaintiff does not cite to any Fourth Circuit cases
imposing such a requirement5 And plaintiff does not cite to any record evidence that she alleges
constitutes a failure by the USMS to adequately support its subjective assessments Defendants,
on the other hand, provide evidence of the panelists’ explanations for their subjective

assessments6 And, notably, the Fourth Circuit has relied on subjective assessments in upholding

 

’ Moreover, it appears defendants have satisfied the Fifth Circuit requirement plaintiff cites that “the employer
[must] articulate[] a clear and reasonably specific basis for its subjective assessment.” Alvarado, 492 F.3d at 616.
Defendants clearly and specifically explained the panel concluded Mr. Bearden was most qualified based on his
interview responses and work experiences. See, e.g., lnsley Dep. at 34:22~35:7; Aff. lnsley at 63-64; Aff. Wight at
77; Wight Dep. at 39114-40:2|; Aff. Nieboer at 90-92; Nieboer Dep. at 82:21-83:22. And defendants provided
examples of why the panelists thought Mr. Bearden’s interview responses and job experience were superior, further
establishing the basis for their assessment See, e.g., Aff. lnsley at 65; Aff. Wight at 77-78; Wight Dep. at 93:3-8;
Affd Nieboer at 90-91; Nieboer Dep. at 82:21-83:22.

‘ For example, Mr. Wight explained his decision to recommend Mr. Bearden on the basis of Mr. Bearden’s
interview responses because they revealed that he had “far greater understanding of the subject matter compared to
the other candidates, and articulated that and made a much stronger case for himself as being the best qualified
candidate far and away.” Wight Dep. at 93:3-|0.

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an employer’s legitimate, nondiscriminatoryjustification. See, e.g., Hux v. City of Newport
News, 451 F.3d 31 l, 316-19 (affinning summaryjudgment for the employer after it chose not to
select plaintiff in part based on her interview perfonnance).

Accordingly, in light of the specific record evidence defendants have marshalled and the
Fourth Circuit’s conclusion that qualifications and job performance are “widely recognized” as
legitimate, nondiscriminatory justifications sufficient to rebut a plaintiffs initial showing,7
defendants have successfully articulated a legitimate, nondiscriminatory justification for Mr.
Bearden’s selection and the burden shifts back to plaintiff to prove thatjustification is pretextual.

This does not end the analysis, as plaintiff makes five arguments to support her
contention that defendants’ proffered legitimate, nondiscriminatory justification is a pretext for
gender discrimination. Each of these arguments fails.

First, plaintiff alleges that defendants have varied their explanation for plaintiffs non-
selection throughout the course of this dispute, thereby evincing pretext. See EEUC v. Sears
Roebuck & Co., 243 F.3d 846, 850 (4th Cir. 2001). This argument fails because although the
panelists did not always give the same examples of ways in which Mr. Bearden was more
qualified than plaintiff throughout the various stages of this dispute,8 their explanation that Mr.
Bearden was chosen because he was most qualified by virtue of his interview responses and
work experience has remained constant throughout See, e.g., Def.’s Resp. to Pl.’s lnterrog. No.
3; Aff. lnsley at 63-64; lnsley Dep. at 34:22-35:7; Aff. Wight at 77; Wight Dep. at 39:14-40:21;

Aff. Nieboer at 90-92; Nieboer Dep. at 82:21-83:22. The statements in the panelists’ EEO

 

7 Evans, 80 F.3d at 960.

8 For example, Mr. Wight specifically referenced Mr. Bearden’s QPR experience in his interrogatory responses but
did not do so in his EEO affidavit or deposition. See Aff. Wight at 77-78; Def.’s Resp. to Pl.’s lnterrog. No. 3;
Wight Dep. at 94:3-7.

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affidavits, interrogatory responses, depositions, and interview notes, although varying in their
examples and level of detail, are neither contradictory nor inconsistent.

Plaintiffs charts supporting her allegation that defendants have provided conflicting
reasons for their selection decision are misleading and are not evidence of pretext. The charts
purport to reveal the “[c]ontradictory [r]easons” given by the panelists for their recommendation
of Mr. Bearden. lmportantly, plaintiffs charts fail to include the defendants’ proffered
justification for their selection decision, namely that Mr. Bearden was most qualified based on
hisjob experience and interview responses. lnstead, the charts track various examples the
panelists gave of ways in which Mr. Bearden’stb experience and interview responses made him
most qualified for the BlC Chief position. To be sure, these examples varied somewhat
throughout the course of the dispute, but this does not undermine the validity of defendants’
legitimate, nondiscriminatory justification that Mr. Bearden was most qualified on the basis of
his interview responses and work experience.9 Significantly, the Fourth Circuit has cautioned
that “the plaintiff cannot seek to expose [the defendant’s justification] as pretextual by focusing
on minor discrepancies that do not cast doubt on the explanation’s validity.” Hux v. City of
Newport News, Va., 451 F.3d 311, 315 (4th Cir. 2006). Indeed, the “suggestion that summary
judgment is precluded by pinprick objections to an employer’s non-discriminatory justification
would place routine personnel decisions in judicial hands.” Id. at 313.

Moreover, the Fourth Circuit has sensibly upheld the granting of summary judgment to

employers in Title VII cases in which the employer’s explanation has changed over time when

 

9 For example, plaintiff charts the instances in which Mr. Wight did and did not specifically discuss Mr. Bearden’s
QPR experience and greater analytical acumen. Mem. Supp. Pl. 's 0pp ’n Defs. ’Renewed Mot. Summ. J. 8. Yet
whether Mr. Wight addressed Mr. Bearden’s QPR experience or analytical acumen on a particular occasion does not
affect whether defendants’ proffered legitimate, nondiscriminatoryjustification_that Mr. Bearden was most
qualified based on his interview responses and work experience_changed over time. lnstead, it merely reflects the
level of detail Mr. Wight provided in his responses.

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the given reasons are not materially inconsistent, as such a case presents no question of material
fact on the issue of pretext. See, e.g., Freeman v. N. State Bank, 282 F. App’x 211, 216-17 (4th
Cir. 2008) (upholding summary judgment where plaintiff “assert[ed] that the [defendant’s]
reasons were inconsistent” because “although the [defendant’s] explanations may have varied in
depth and detail, they were not materially inconsistent”); Baldwin v. England, 137 F. App’x 561,
564 (4th Cir. 2005) (employer’s “proffer of consistent, though varying, reasons that [plaintiff]
could not be promoted fails to support an allegation that any of those reasons are false, much less
that all of them are a pretext for discrimination”). ln contrast, the Fourth Circuit has found
inconsistent justifications provide evidence of pretext in more extreme cases that are inapposite
here. For example, it affirmed a finding of pretext where the selecting official offered an
additional justification at trial after stating in his deposition that there were no other qualities that
distinguished the promoted employee from the plaintiff. Dennis v. Columbz'a Colleton Medical
Center, lnc., 290 F.3d 639, 646-47 n.l (4th Cir. 2002). The cases plaintiff cites are similarly
inapplicable ln EEOC v. Sears Roebuck & Co., the supervisor admitted that she gave an
inaccurate reason for her employer’s failure to hire plaintiff to the EEOC. 243 F.3d 846, 850 (4th
Cir. 2001). And in a claim under the Americans with Disabilities Act in Jacobs v. N.C. Admin.
O_Hice of the Courts, notes that purportedly “reflect[ed] . . . the reasons for firing [plaintiff]
concem[ed] her disability, use of sick leave, and request for accommodation; none concerned the
justifications raised during the course of litigation.” 780 F.3d 562, 575-76 (4th Cir. 2015).
Additionally, plaintiffs objection that Mr. Nieboer did not recommend any of the
candidates fails to create a genuine dispute of material fact. Although Mr. Nieober stated in his
EEO Affidavit that he “didn’t recommend any of the candidates” because he “didn’t think any of

them were qualified,” he clarified in his deposition that although he would have preferred

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looking for candidates outside of the agency, he agreed that, of the four candidates interviewed
by the panel, Mr. Bearden was the best.lo Aff. Nieboer at 88~89; Nieboer Dep. 80:13-83:12.
More importantly, and dispositive here, is that the majority of the panel recommended Mr.
Bearden.ll That the majority of the panel, rather than a unanimous panel, recommended Mr.
Bearden fails to undermine the legitimacy of defendants’ proffered legitimate, nondiscriminatory
justification

Second, plaintiff argues that defendants’ argument suffers from “[c]redibility issues”
constituting evidence of pretext. To the extent plaintiffs argument rests on the purported
changing reasons for promoting Mr. Bearden rather than plaintiff, that argument is addressed
fully above. In sum, although the panelists sometimes provided varying levels of detail and
different examples in their EEO affidavits, interrogatory responses, depositions, and interview
notes, their explanation that Mr. Bearden was selected because he was most qualified by virtue
of his interview responses and work experience remained constant.

To the extent plaintiffs credibility argument rests on the purported inconsistencies she
raises in her briefs supplemental pages,I2 these do not create a genuine dispute of material fact
regarding defendants’ credibility. That plaintiff received a positive performance evaluation
signed by Mr. lnsley does not cast doubt on his assessment months later that Mr. Bearden was
better qualified for the role of BlC Chief`. Pl.’s Ex 6. As the Fourth Circuit has recognized, a

performance evaluation is distinct from a promotion decision, Anderson v. Westinghouse

 

‘° Mr. Nieboer stated that “what was presented to us was four candidates and who's the best out of that four. And we
all agreed that it was [Mr. Nieboer]. So it’s not that they were saying-there wasn’t a disagreement amongst us. lt
was more my point that l thought they could get a higher caliber candidate outside of the agency. But that wasn't our
task. lt was we had these four people and who's the best for thejob." Nieboer Dep. 81:10_18.

" Notably, the lone dissenter, Mr. Nieboer, did not recommend plaintiff but instead wished to open the selection
process to more candidates Nieboer Dep. at 80220-81:18.

‘2 Plaintiffs Motion for Leave to File a Supplemental Memorandum was granted. Order, .luly 13, 2018.

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Savannah River Co., 406 F.3d 248, 271-72 (4th Cir. 2005) (explaining the difference between a
performance evaluation and promotion decision). The former addresses how an employee
functions in her current position whereas the latter forecasts how she will function in a different
position.l3 Id. Moreover, there is no evidence plaintiffs positive evaluation was seen by Mr.
Wight or Mr. Nieboer (a fact the Fourth Circuit noted in Anderson) nor does plaintiff contend
defendants made the promotion decision on the basis of performance evaluations 406 F.3d at
272. Plaintiff “cannot establish pretext by relying on criteria of her choosing when the employer
based its decision on other grounds.” '4 Id. at 271.

Third, plaintiff alleges defendants failed to follow hiring policies, a defect that she argues
constitutes evidence of pretext. Yet even if plaintiffs claim that defendants failed to follow
hiring policies were true, it would not constitute evidence of pretext because the failures would

affect all candidates equally.15

 

'3 lndeed, Mr. Wight explained that “although . . . [plaintiff`] is a very good employee," he thought “her skills were
different from what was sought in the position she was competing for." Aff. Wight at 78.

" The other purported inconsistencies plaintiff raises are equally unpersuasive There is nothing inconsistent about
Mr. Nieboer identifying “deference to operational employees” as Mr. Bearden’s weakness and recommending Mr.
Bearden over plaintiff in part because of his leadership skills See Defs.’ Ex. 21, 139; Pl.’s Ex. 4, 82:21-83:12. An
employee with strong leadership skills may at times defer to other employees Nor were defendants inconsistent in
choosing Mr. Bearden over plaintiff as most qualified to head the BlC even though plaintiff was involved in the BlC
planning Pl.’s Ex. l, 3. Even an employee integral to the development of a position may not be most qualified to
assume that position. Equally unpersuasive is plaintiffs suggestion that Mr. Nieboer contradicted himself by
identifying plaintiffs strategic thinking as a weakness yet also noting as an opportunity that she “would grasp
analytics, [strategic plan] and [enterprise risk management]” because “she knows how to use Excel spreadsheets.”
Defs.’ Ex. 21, 139; Pl.’s Ex. 4, 37:4-13. Knowledge of a computer program such as Excel is not proof of strong
strategic thinking skills, nor is the possibility that plaintiff “would grasp analytics” inconsistent with weak strategic
thinking skills Furthermore, that the panelists did not recall specific answers that made Mr. Bearden’s interview
better than plaintiffs does not undermine the integrity of defendants’ legitimate, nondiscriminatoryjustification, as
they identified ways in which Mr. Bearden’s answers were superior. See, e.g., Aff. lnsley at 65; Aff. Wight at 77-
78; Wight Dep. at 93:3-8; Nieboer Dep. at 82:21-83:22. Finally, that much of Mr. Bearden’s resume copied the
duties on the BlC Chief vacancy announcement does not establish that defendants’ legitimate, nondiscriminatory
justification is pretextual. Defs.’ Ex. 15; Defs.’ Ex. l9. lmportantly, plaintiff does not dispute that Mr. Bearden
performed the duties listed on his resume. Pl.’s Mem. Opp’n Summ. .l. l4.

15 By order dated April 20, 2018, plaintiffs argument was rejected on the same grounds Order, 7-8, Apr. 20, 2018,
(“lnfonnation related to [defendants’] alleged failure to follow OPM regulations by allowing Bearden to serve as
Acting Director for more than 120 days or by preselecting him for the role of BlC Chief . . . is not relevant or
material to the issue of plaintiffs alleged non-selection on the basis of gender . . . .”).

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Plaintiff does not clearly identify the alleged policy failures in her brief, but defendants
seem to have successfully surmised the following alleged failures: (i) the duration of Mr.
Bearden’s tenure as Acting BlC Chief violated OPM policy, (ii) the panelists neither received
training nor studied the USMS’s hiring policies, (iii) the panelists improperly considered factors
not contained in the candidates’ application materials and interviews (iv) the panelists did not
formally rate or rank the candidates and (v) the panelists did not ask follow-up questions
Although defendants dispute that plaintiff has established that defendants failed to follow policy
in selecting the BlC Chief, the dispute is not material because an employer’s failure to follow
policy that affects all candidates equally does not establish pretext.16

Plaintiff also makes much of Mr. Wight’s failure to take notes during the interview and
defendants’ lack of evidence proving Mr. Nieboer’s notes were made contemporaneously with
the interviews Defs.’ Ex. 35, 9; Pl.’s Ex. 2, 17118-21:10. Yet the panelists’ notetaking
practices_or lack thereof-do not establish pretext here. Plaintiff has not provided any evidence
that the panelists were required to take notes, or more importantly, that they took notes

selectively during the interviews Nor does the Fifth Circuit case plaintiff relies on, Alvarado v.

 

'6 See Bush v. Carler, 597 F. App’x 178, 179 n.l (4th Cir. 20|5) (p|aintiffs “contentions that there were
inconsistencies and irregularities in the application and selection process were properly discounted by the district
court as failing to demonstrate that they were probative of racial discrimination and as insufficient as a matter of law
to establish pretext”); Moore v. Mukasey, 305 F. App'x, 11 1, l 17 (4th Cir. 2008) (potential policy violation whereby
employee selected for promotion to Unit Chief was allegedly allowed to serve as Acting Unit Chief for more than
authorized 120-day period did not establish pretext); Anderson v. Westinghouse Savannah River Co., 406 F.3d 248,
271 (4th Cir. 2005) (that employer may have preselected an employee for a promotion in racial discrimination case
is insufficient to establish pretext because it “would work to the detriment of all applicants for thejob, black and
white alike”). Of course, an employer’s selective failure to follow policy may evince pretext. See Merri!l v. Old
Domim‘on Freighl Line, Inc., 601 F.3d 289, 299 (4th Cir. 2010) (“a trier of fact could reasonably find that [the
employer’s] selective application and ever-changing rationales for [the test used to disqualify plaintiff] were
designed to conceal an intent to reserve the . . . positions for male drivers only”); Mohammed v. Cent. Driw`ng Mim`
Storage, lnc., 128 F. Supp. 3d 932, 952 (E.D. Va. 2015)(although “an employer’s failure to follow its own internal
procedures does not necessarily suggest that the employer was motivated by illegal discriminatory intent,” an
employer’s “selective, erratic, or case-by-case application” of a policy “may suggest pretext”) (intemal quotations
omitted). Yet plaintiff makes no allegation that the USMS’s alleged failure to follow policy was selective. Rather,
the defects plaintiff alleges affected each applicant to the BlC Chief role, including the male candidate that was
ultimately selected.

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Texas Rangers, 492 F.3d 605, 615 (Sth Cir. 2007), to support her argument persuade. There, the
Fifth Circuit found the employer’s lack of notes relevant where the employer proffered plaintiffs
“failure to score among the top ten candidates in the promotion and selection process” as its
legitimate, nondiscriminatory justification yet “offered neither an explanation nor evidence of
how or why the interviewers arrived at [the given interview] scores” and failed to “provide[] any
evidence of why [it] rated the other candidates . . . higher than” plaintiff. Id. at 615-17. The
absence of notes was relevant because an interview score-the employer’s proffered legitimate,
nondiscriminatory justification_absent more, is equally consistent with discrimination as not.
Id. at 617. In contrast to Alvaraa'o, defendants’ legitimate, nondiscriminatory justification here
(i.e., that Mr. Bearden was best qualified, as evidenced by his interview responses and work
experience) is not equally consistent with discrimination as not. Moreover, defendants provided
evidence of why the panelists viewed Mr. Bearden’s interview responses and work experience as
superior, evincing that the selection decision was legitimate and not discriminatory. See, e.g.,
Def.’s Resp. to Pl.’s lnterrog. No. 3; Aff. lnsley at 65; Aff. Wight at 77-78; Wight Dep. at 93:3-
8; Affd Nieboer at 90-91; Nieboer Dep. at 82:21-83:22.

Fourth, plaintiff alleges that she is substantially more qualified than Mr. Bearden.I7
Although it is well established that a Title VII plaintiff may establish pretext by showing that she
is substantially more qualified than the promoted employee, it is equally well established that

showing one’s qualifications are “similar or only slightly superior” is insufficient to establish

 

"' Notably, following the Supreme Court’s decision in Reeves v. Sanderson Plumbing Products. Inc., 530 U.S. 133
(2000). the Fourth Circuit explicitly eliminated the requirement that Title Vll plaintiffs must prove substantially
superior qualifications Denm`s v. Columbia Colleton Medical Center, Inc., 290 F.3d 639, 648 n.4 (4th Cir. 2002).
Rather, courts “can infer the ultimate fact of discrimination from the falsity of the employer’s explanation.”
Anderson, 406 F.3d at 269 (quoting Denm's v. Columbia Colle!on Medical Center, Inc., 290 F.3d 639, 648 n.4 (4th
Cir. 2002)). Accordingly, plaintiff “can prove pretext by showing that [s]he was better qualified, or by amassing
circumstantial evidence that otherwise undermines the credibility of the employer’s stated reasons.” Moore v.
Mulcasey, 305 Fed.Appx. l l l, l 16 (4th Cir. 2008) (quoting Heiko v. Colombo Savings Banlc F.S.B., 434 F.3d 249,
259 (4th Cir. 2006)).

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pretext. Moore v. Mukasey, 305 F. App’x 11 l, 116 (4th Cir. 2008). Even when all factual
disputes are resolved in her favor, plaintiff has failed to demonstrate that her qualifications are
substantially superior to Mr. Bearden’s

Both plaintiff and Mr. Bearden served in GS-l4 positions for six years prior to the BIC
Chief selection at issue. Defs.’ Ex. 18, 119; Defs.’ Ex. 19, 126-27. And each had experience the
other did not. Plaintiff acknowledges that, consistent with defendants’ proffered legitimate,
nondiscriminatory justification, Mr. Bearden had experience relevant to the BIC Chief position,
namely he served as the Acting BlC Chief for five months Defs.’ Ex. 19, 126. And Mr. Bearden,
unlike plaintiff, had experience conducting QPRS.]8 Defs.’ Ex. 35, 11-12; Aff. Russell at 41. On
the other hand, plaintiffs position, unlike Mr. Bearden’s, was in the same job series as the BlC
Chief. Defs. Ex. 1, 150. Plaintiff claims to have performed “duties associated with the job
announcement” of the BlC Chief from March 2010 to November 2014. Pl.’s Ex. 1, 1. Although
defendants dispute this contention, even taken in the light most favorable to plaintiff, plaintiffs
experience is not so substantially superior as to make defendants’ justification pretextual. That
plaintiff did not perform a single QPR during that time reveals that she did not perform all of the
BIC Chiefs duties And although Mr. Bearden served as Acting BIC Chief for only five months,
plaintiff does not contend that he failed to perform all of the BlC Chief s duties Where
plaintiffs purported qualifications are “only slightly superior to those of the person eventually
selected, the promotion decisions remains vested in the sound business judgment of the

employer.” Heiko v. Colombo Savings Bank, F.S.B., 434 F.3d 249 (4th Cir. 2006). Indeed, the

Fourth Circuit has recognized that a plaintiffs superiority to the selectee in one relevant area

 

'8 Although plaintiff is correct that the BlC Chief job announcement did not include conducting QPRs as one of the
position’s duties, it is undisputed that the BlC Chief is responsible for conducting QPRs. Defs.’ Ex. 15; Defs.’ Ex.
35, 19.

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does not establish pretext when the decision was also based on other factors Harris v. Mayor &
City Council of Baltimore, 429 F. App’x. 195, 204 (4th Cir. 201 1). Here, defendants did not base
their decision as to which candidate was most qualified solely on work experience, but also
considered the candidates’ interview responses Additionally, the Fourth Circuit has recognized
that an employee’s tenure as an Acting Unit Chief may strengthen the employer’s argument that
the experience makes the employee more qualified for the position. Moore, 305 F. App’x, at 117.

Plaintiff argues other evidence supports her claim that she is more qualified than Mr.
Bearden for the role of BIC Chief. F or example, she points to a positive performance evaluation
from one of the panelists, an email remarking that she had “great insight and suggestions,” and
the candidates’ respective clearance levels. Pl.’s Ex 6; Pl.’s Ex. 8; Pl.’s Mem. Opp’n Summ. .l. 9.
Yet, these do not create a genuine dispute of material fact because only the bases on which
defendants made the promotion decision_qualifications as determined by interview responses
and work experience_are relevant. Anderson v. Westinghouse Savannah River Co., 406 F.3d
248, 269 (4th Cir. 2005). Plaintiff does not allege that the record indicates defendants considered
these factors in its promotion decision, lmportantly, plaintiff “cannot establish her own criteria
for judging her qualifications for the promotion. She must compete for the promotion based on
the qualifications established by her employer.” Id. Fourth Circuit “case law makes plain that
[plaintiffs] self-assessment of [her] superior aptitude for the position fails to rebut the
Govemment’s legitimate explanation.” Moore, 305 F. App’x at 1 16.

Additionally, plaintiff submits evidence purporting to establish that the panelists were
incorrect about the nature of her current job, the accuracy of her resume, and the strength of her
leadership skills See Defs.’ Ex. 35, 15-16; Pl.’s Ex. 6, 1-2; Defs.’ Ex. 18, 119; Pl.’s Ex. 4, 44:4-

17; Pl.’s Ex. 1, 2; Defs.’ Ex. 21 , 139; Pl.’s Ex. 6, 4. Yet plaintiffs disagreement with the

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panelists’ assessment of her credentials does not raise a genuine dispute of material fact. As the
Fourth Circuit has made clear, “[it] is the perception of the decision maker which is relevant, not
the self-assessment of the plaintiff.” DeJarnette v. Corm`ng Inc., 133 F.3d 293, 299 (4th Cir.
1998) (intemal quotations omitted). Courts are not “super-personnel department[s] weighing the
prudence of employment decisions made by firms charged with employment discrimination.” Id.
(intemal quotations omitted). Rather, their “sole concern is whether the reason for which the
defendant discharged the plaintiff was discriminatory . . . it is not [the courts’] province to decide
whether the reason was wise, fair, or even correct, ultimately, so long as it was truly the reason
for the” employment decision, Id.

Fifth, and finally, plaintiff alleges that defendants have a history of gender
discrimination Yet plaintiff fails to provide evidence that constitutes appropriate comparator
evidence or establishes a general pattern or practice of discrimination

'I`o the extent plaintiffs chart constitutes comparator evidence, it is insufficient because
plaintiff has not established the circumstances surrounding those selection decisions were
sufficiently similar. Indeed, plaintiff does not even allege that they are. Suppl. Pages Summ. .l.
Opp’n 1. Plaintiff is correct that comparator evidence is not necessary to succeed on a
discrimination claim under Title VlI. Bryant v. Aiken Regional Medr'eal Centers, Inc., 333 F.3d
536, 545-46 (4th Cir. 2003). However, as defendants point out, when a Title VIl “plaintiff
attempts to rely on comparator evidence to establish circumstances giving rise to an inference of
unlawful discrimination . . . [t]he similarity between comparators . . . must be clearly
established.” Swaso v. Onslow County Bd. of Educ., 698 F. App’x 745, 748 (4th Cir. 2017)
(intemal quotations omitted). An earlier Order in this case identified some of the relevant

comparator variables: “whether any women applied for the positions in question[], who the

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selecting officials were for the positions or whether the promotion process was in any way
similar to the process at issue here.” Order, 9, Apr. 20, 2018, Plaintiff has not met the burden of
establishing she is “similar in all relevant respects to [her] comparator.” Haywood v. Locke, 387
F. App’x 355, 359 (4th Cir. 2010). Of the eight positions included in plaintiffs chart, half are
GS-181 l law enforcement positions that are subject to eligibility, evaluation, and
recommendation/selection procedures distinct from the procedures used to make selections
decisions for non-law enforcement positions such as the BIC Chief, Defs.’ Ex. 24, 157-62.
Furtherrnore, neither the panelists nor Selecting Official involved in Mr. Bearden’s selection
conducted interviews or made a final decision for these law enforcement positions'° The non-
law enforcement positions also fail to constitute satisfactory comparators Mr. Wight, Mr.
Nieboer, and Mr. Bolen had no involvement in the selection process for the three non-law
enforcement positions other than BIC Chief on plaintiffs chart. Mr. lnsley was not involved in
the selection process for two of the three positions And although Mr. lnsley was a panelist in the
2014 interviews for a Supervisory Physical Security Specialist, defendants identify four ways in
which the process differed from the BIC Chief process making it an inadequate comparator: (i)
the selectee was already a GS-l 5 employee and so his selection was not a promotion, (ii) there
were not any women interviewed for the position because none had been certified as qualified,
(iii) the interview panel included a female, and (iv) the selecting official who made the final
decision was Ms Douglas. Accordingly, plaintiff has failed to identify a selections decision that
is an appropriate comparator because the selections decisions on her chart are not similar in all

relevant respects See Haywood v. Locke, 387 F. App’x 355, 359 (4th Cir. 2010).

 

'9 Only Mr. Wight was involved in the process at all. and his involvement was limited to recommending two
candidates to the Career Board, which then evaluated all the candidates and made recommendations to the USMS
Director. Defs.’ Ex. 35, 21-22.

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Plaintiff similarly fails to establish that her non-selection conforms to defendants’ general
pattern or practice of discrimination lt is clear that, under the Title Vll framework, a court “may
infer discriminatory intent from evidence of a general pattern of . . . discrimination in the
practices of a defendant.” Swaso v. Onslow County Bd. of Educ., 698 F. App’x 745, 748 (4th Cir.
2017). Yet, plaintiffs evidence is insufficient to overcome summaryjudgment because plaintiff
fails to establish that the number of female candidates selected was disproportionate compared to
the number of qualified female candidates nor does plaintiff provide an adequate sample size,
Additionally, plaintiff selectively relies on certain selection decisions

The Fourth Circuit has directed that “[i]n a case of discrimination in hiring or promoting,
the relevant comparison is between the percentage of minority employees and the percentage of
potential minority applicants in the qualified labor pool.” Carler v. Ball, 33 F.3d 450, 456 (4th
Cir. 1994). Yet plaintiff has not provided evidence comparing the number of women selected for
GS-15 positions in the USMS with the number of qualified women applicants for such
positions20 Additionally, plaintiff has failed to satisfy the requirement that statistical evidence
have a sufficiently large sample size, See Birkbeck v. Marvel Lighting Corp., 30 F.3d 507, 51 1
(4th Cir. 1994). Absent a sufficient sample size, such evidence lacks probative value. Id. The
Fourth Circuit has held that a sample size of four is too small to rely on statistical analysis in a

discrimination claim under the ADEA.21 Id. Here, plaintiff has pointed to only three non-law

 

20 Plaintiffs argument that defendants have failed to produce necessary information is unpersuasive With respect to
the promotion of Mr. Haufe, Mr. lnsley testified that six men-and no women-were certified as qualified
candidates for the position. Defs.’ Ex. 30, 93:7-100:4. And plaintiffs have not alleged defendants’ disposal, pursuant
to USMS records management policies of the 2010 and 201 l promotion files for Charles Weber and Gary lnsley
was improper or pretextual. See Defs.’ Ex. 35, 21. More importantly, none of the selecting officials here were
involved in those decisions makinging them inadequate comparators and two cases is an insufficiently small
sample size to constitute pattern or practice evidence, See Birkbeck v. Marvel Lighlr`ng Corp., 30 F.3d 507, 51 1 (4th
Cir. 1994).

2' The Fourth Circuit also cited approvingly a decision holding that a sample size of thirteen was too sma|l. See
Birkbeck, 30 F.3d at 51 l.

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enforcement selection decisions (excluding Mr. Bearden’s), an even smaller sample than that
held to be insufficiently small in Birkbeck, See Defs.’ Ex. 23, 148-49; 30 F.3d at 511.
Furthennore, plaintiff has selected the relevant time frame without explanation for the start
date.22 lt is undisputed that women were selected for GS-15 positionsjust outside of plaintiffs
chosen period.23 Because it is insufficient for plaintiff to rely merely on the absence of women in
GS-15 positions or a small number of promotions decisions that resulted in the selection of male
candidates plaintiff has failed to demonstrate a pattern or practice of gender discrimination that
constitutes evidence her non-selection was motivated by discrimination See, e.g., Birkbeck, 30
F.3d at 511 (“[w]e think it improper to rely on the results of statistical analyses” when only four
employment decisions are relevant); Jackson v. Richmond City Sch. Bd., No. 99-cv-642, 2000
WL 34292578, at *6 (E.D. Va. Mar. 15, 2000) (evidence that twenty-four women and no men
have held the relevant position, without more, insufficient to show pretext).

Plaintiff has failed to establish that defendants’ legitimate, nondiscriminatory justification
for Mr. Bearden’s selection is pretextual. Accordingly, plaintiff s Title VII claim fails as a matter
of law, and summary judgment must be granted in favor of defendants

IV.
For the reasons discussed above, defendants’ motion for summaryjudgment must be

granted.

 

22 Plaintiff has identified August 2010 to July or August 2016 as the relevant timeframe. Pl.’s Counter Defs.’
Statement Material Facts in Dispute 2. She began working as the Assistant Chief of the JSD’s ASC (the position she
held when she interviewed for BlC Chief) in March 2010 after beginning her career with the USMS in August 2000.
Mr. Bearden’s promotion was announced in July 2016. Defs.’ Ex. 18, l 19, 122; Defs.’ Ex. 2, 12. Plaintiff has not
provided an explanation for the time frame she has selected, and this Court cannot surmise why the period began in
August 2010,

23 Lydia Blakey (2000), Candra Symonds (2005), Nancy Gallant (2010) and Cheata Sieng (2018) were all promoted
to GS-15 positions Defs.’ Ex. 32; Defs.’ Ex. 33; Defs.’ Ex. 34; Defs.’ Ex. 9, 50; Defs.’ Ex. 35, 24.

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An appropriate Order will issue.

Alexandria, Virginia
August 291 2018

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United States Di ret lodge

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